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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                 Plaintiff,

vs.                                                                        No. CR 10-3093-022 JB

JAIME PEREZ,

                 Defendant.

                              MEMORANDUM OPINION AND ORDER

          THIS MATTER comes before the Court on the Defendant’s Second Notice of Appeal on

the Order of Detention, filed March 18, 2011 (Doc. 332)(“Motion”). The Court held an evidentiary

hearing on April 7, 2011.        The primary issue is whether the Court should reconsider its

Memorandum Opinion and Order, filed December 29, 2010 (Doc. 229)(“MOO”), which affirmed

the order of Honorable Carmen E. Garza, United States Magistrate Judge for the District of New

Mexico, denying Defendant Jaime Perez conditions of release. The Court grants Perez’ request for

a hearing, but denies his request that the Court grant him conditions of release.

                                   FACTUAL BACKGROUND

          Perez’ mother, Christine Gardea, resides in El Paso, Texas. Perez has resided with his

mother for several years. Perez’ brother resides in Santa Teresa, New Mexico. Perez is a United

States citizen. He has two young children with his common-law wife, JoAnn Lopez, and his

children are United States citizens. Perez also has family in Mexico, including a grandmother and

uncles.

          The United States Pretrial Services (“PTS”) report shows that Perez’ criminal history

includes a number of convictions. On May 2, 1999, Perez was convicted of being a minor in
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possession of alcohol, for which he received a time-served sentence. On December 20, 1999, Perez

was convicted of two counts of burglary of a vehicle and one count of criminal mischief, for which

he received a sentence of 180 days confinement followed by fifteen months of probation. His

probation was revoked on November 2, 2000, and he was sentenced to 120 days additional

confinement. On June 9, 2000, Perez was convicted of theft under $50.00, for which he received

a time-served sentence. On November 2, 2000, he was convicted of misdemeanor possession of

marijuana, for which he was sentenced to ten days confinement. On April 2, 2007, Perez was

convicted of failure to identify, for which he was fined and required to pay court costs. In addition

to these five convictions, and the probation violation, Perez also appears to have an outstanding

warrant for speeding.

       Perez has not had legitimate employment in the United States for approximately ten years,

and Perez asserts that he gambles professionally in Mexico. Additionally, the United States

proffered the results of a six-month crossing history for Perez, as researched by the United States

Border Patrol, which indicated that, between May 23, 2010, and November 16, 2010, Perez

re-entered the United States from Mexico thirty-six times.

       At the December 8, 2010 hearing, Drug Enforcement Agency (“DEA”) agent Jerry Smith

testified that the indictment against Perez and his co-conspirators is the result of a lengthy

investigation, which included over four months of court-authorized Title III wiretap interception of

six different telephones and video surveillance of three different residences. Smith testified that

Perez was repeatedly intercepted in conversations with co-Defendant Carmen Carrasco on her

wiretapped telephone. Agents reported that Carrasco stated she receives cocaine on Tuesdays and

Fridays. On multiple occasions -- most Tuesdays and Fridays during three months of observation --

Perez and Carrasco arranged for Perez to go to Carrasco’s residence. Smith further testified that,

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using video surveillance, agents observed multiple occurrences at Carrasco’s residence when Perez

would arrive and either exit his vehicle and walk to the front of the residence, or remain in his

vehicle while Carrasco would walk to the window of his vehicle and reach inside. These meetings

were brief, and Smith testified that the meetings are consistent with other hand-to-hand drug deals

that he has witnessed. Smith further testified that Perez was a minor participant in the overall

investigation. Smith also testified that, after Perez was arrested and read his Miranda1 rights, Perez

stated that he provided Carrasco with marijuana. Smith did not observe any interaction between

Perez and co-Defendant Pablo Fuentes, the primary subject of the investigation. Co-Defendant

Jesus De La Torre, who lives with C. Carrasco, after being arrested and read his Miranda rights,

stated that Perez delivered marijuana and smaller amounts of cocaine to C. Carrasco.

                               PROCEDURAL BACKGROUND

       On November 10, 2010, the Grand Jury returned a seven-count Indictment charging twenty-

three people, including Perez, with, among other things, conspiracy to possess with intent to

distribute five kilograms and more of cocaine, contrary to 21 U.S.C. §§ 841(a)(1), and (b)(1)(A).

On November 16, 2010, seventeen arrest warrants and seven search warrants were executed. Perez

is charged in Count 1: conspiracy to possess with intent to distribute five kilograms or more or

cocaine. Perez was arrested on November 16, 2010, as he re-entered the United States from Ciudad

Juarez, Mexico. On November 17, 2010, Perez had his initial appearance before Judge Garza, where

the United States made an oral motion for a detention hearing, and Judge Garza granted the United

States’ motion. On November 19, 2010, Perez was arraigned and entered a plea of not guilty. Also

on November 19, 2010, Judge Garza held a detention hearing, and she denied Perez conditions of



       1
           Miranda v. Arizona, 384 U.S. 436 (1966).

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release. Judge Garza executed a Detention Order on November 22, 2010. See Doc. 128.

       In preparation for the detention hearing, PTS prepared a report regarding Perez. PTS

reported that, in his interview, Perez stated that he did not possess a passport; however, he traveled

to Mexico in 2009.2 Lopez, Perez’ common-law wife and mother of Perez’ children, has agreed to

serve as a third-party custodian for him. PTS interviewed Lopez and found her to be a suitable

third-party custodian.

       On November 23, 2010, Perez’ first counsel, Mario Carreon, filed Perez’ Appeal of Order

Denying Conditions of Release. See Doc. 151. Perez appealed, pursuant to 18 U.S.C. § 3145(b),

Judge Garza’s order denying him conditions of release. Perez requested that the Court review the

order of detention that Judge Garza executed and allow him to continue living with his mother,

Gardea, in El Paso. Perez stated that he has lived with Gardea for several years. Perez represented

that PTS had commenced an interview with Gardea, but had not yet made any findings about her

suitability as a third-party custodian. Perez requested that he live with Gardea and that Lopez be

assigned as his third-party custodian.

       On November 24, 2010, Perez’ second counsel, Steven Almanza, filed Perez’ Notice of

Appeal on the Order of Detention, see Doc. 157, in which Perez incorporated by reference the

Defendant’s Appeal of Order Denying Conditions of Release and realleged its contentions in support

of this motion. Perez requested that the Court set the issue for a hearing, permit him to present


       2
          After the events of September 11, 2001, Congress enacted the Intelligence Reform and
Terrorism Prevention Act of 2004, Pub.L. No. 108–458, 118 Stat. 3638 (Dec. 17, 2004). Section
7209(b)(1) of that Act required the State Department and the Department of Homeland Security to
develop a plan requiring anyone entering into the United States, including citizens returning from
Mexico, to present a valid passport. The State Department issued the Western Hemisphere Travel
Initiative implementing this policy, 8 CFR Pts. 212, 235, which implemented this requirement for
land- and sea-based travelers on June 1, 2009, see                      http://www.dhs.gov/files
/programs/gc_1200693579776.shtm (last visited May 12, 2011).

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witnesses and any supporting evidence, and present his argument in furtherance of the contention

that he holds substantial community connections and is not a flight risk, all pursuant to his request

for release pending trial.

       The Court held a hearing on December 8, 2010. At the hearing, Smith testified about the

evidence DEA agents gathered during their investigation that implicated Perez. Perez stipulated that

he had crossed the border between the United States and Mexico thirty-six times between May 23,

2010, and November 16, 2010. He further conceded that he had not initially been forthcoming with

PTS about the recency and frequency of his travels to Mexico.

       On December 29, 2010, the Court entered its MOO, denying Perez conditions of release.

See Doc. 229. The Court held that the United States had shown, by a preponderance of the

evidence, that Perez is a flight risk. The Court further held that the United States had not shown,

by clear-and-convincing evidence, that Perez was a danger to the community. The Court concluded

that “there are no conditions, nor a combination of conditions, that will adequately ensure . . . the

presence of the defendant as required.” MOO at 7. The Court’s MOO was “without prejudice to

Perez proposing conditions of release that better address the Court’s and the United States’ concerns,

and give comfort to probation if [the conditions] can be met.” MOO at 13 n.1.

       Perez now moves the Court to reconsider its MOO. He requests that “that the Court set this

issue for a hearing, permit Defendant to present witnesses and any supporting evidence, and present

his argument in furtherance of the contention that he holds substantial community connections and

is not a flight risk, all in pursuant to his request for release pending trial.” Motion at 9-10. Perez

states that his mother has now been approved as a third party custodian, and his common-law wife

has secured a position for him at Lowe’s hardware store in El Paso if he is released.

       On March 31, 2011, the United States filed its Response to the Defendant’s Second Appeal

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of Pretrial Detention. See Doc. 341 (“Response”). The United States opposes Perez’ Motion, and

“requests that the Court enter an order denying the motion without a hearing and upholding the

December 8, 2010, denial of the defendant’s original detention appeal.” Response at 1. The United

States contends that Perez’ Motion is a motion to reconsider, which is disfavored, and that no new

legal or factual developments warrant reconsideration of the Court’s MOO, because there has been

no change in the law and the only “new piece of information that the defendant appears to offer is

that his mother has been approved as a third party custodian.” Response at 2. The United States

notes that the Court already discussed its concerns about the possibility of Perez’ mother serving as

a third-party custodian. See MOO at 13 (“Perez’ mother, with whom he has lived during the alleged

events with which he is charge, has apparently not been willing or able to act as a check on

him . . . .”). The United States asserts: “The only purpose of the defendant’s present motion is to

have the Court review an issue that the Court has already addressed. As a result, the Court should

deny the motion and refuse to reconsider issues it has already decided.” Response at 3.

        At the April 7, 2010 hearing, Mr. Almanza conceded that “many of the facts have not

changed,” but noted that Perez’ mother has been approved as a third-party custodian and that Perez’

“common-law wife, Ms. JoAnn Lopez, has secured employment for [Perez] at Lowe's in El Paso,

Texas.” Transcript of Hearing at 3:22-4:8 (taken April 7, 2011)(Almanza).3 Mr. Almanza also

stated that he had been unaware at the December 8, 2010 hearing that PTS had recommended Perez’

release on conditions, so that when he filed his motion to reconsider, he thought that the Court did

not know PTS’ position when it refused to release Perez earlier.               Mr. Almanza candidly

acknowledged that Perez’ mother did not “have a standard telephone line” at the time of the hearing,


        3
        The Court’s citations to the transcript refer to the court reporter’s original, unedited version.
Any final transcript may contain slightly different page and/or line numbers.

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but represented that it would not be “a huge complication” to obtain one. Tr. at 4:8-12 (Almanza).

Perez is also working to obtain substance abuse treatment.

                  STANDARD OF REVIEW BY THE DISTRICT COURT

       “The standard of review for the district court’s review of a magistrate judge’s detention or

release order under § 3145(a) is de novo.” United States v. Cisneros, 328 F.3d 610, 616 n.1 (10th

Cir. 2003). “When the district court acts on a motion to revoke or amend a magistrate's pretrial

detention order, the district court acts de novo and must make an independent determination of the

proper pretrial detention or conditions for release.” United States v. Rueben, 974 F.2d 580, 585-86

(5th Cir. 1992). See United States v. Maull, 773 F.2d 1479, 1481 (8th Cir. 1985)(stating that a

district court's review of magistrate judge's order setting bond was de novo).

                   STATUTORY PRESUMPTION AGAINST RELEASE

       Pursuant to the Bail Reform Act, a defendant may be detained pending trial only after a

hearing, held pursuant to 18 U.S.C. § 3142(f), and upon a finding “that no condition or combination

of conditions will reasonably assure the appearance of the person as required and the safety of any

other person and the community.” 18 U.S.C. § 3142(e). At such a hearing, the United States bears

the burden of proving risk of flight by a preponderance of the evidence, and the burden of proving

dangerousness by clear-and-convincing evidence. See 18 U.S.C. § 3142(f); United States v.

Cisneros, 328 F.3d at 616. A statutory presumption arises “that no condition or combination of

conditions will reasonably assure the appearance of the person as required and the safety of the

community if” a court “finds that there is probable cause to believe that the person committed an

offense for which a maximum term of imprisonment of ten years or more is prescribed in the

Controlled Substances Act.” 18 U.S.C. § 3142(e)(3). See United States v. Villapudus-Quintoro,

No. 08-2308, 2009 WL 141931, at *1 (10th Cir. Jan. 22, 2009)(recognizing that 18 U.S.C. § 3142(e)

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establishes a rebuttable presumption favoring detention in the case of, among other defendants,

certain alleged drug offenders).

       Under section 3142(e), upon a finding of probable cause that the defendant has
       committed a federal drug offense carrying a maximum prison term of ten years or
       more, a rebuttable presumption arises that no conditions of release will assure
       defendant's appearance and the safety of the community. Once the presumption is
       invoked, the burden of production shifts to the defendant. However, the burden of
       persuasion regarding risk-of-flight and danger to the community always remains with
       the government. The defendant’s burden of production is not heavy, but some
       evidence must be produced. Even if a defendant's burden of production is met, the
       presumption remains a factor for consideration by the district court in determining
       whether to release or detain.

United States v. Stricklin, 932 F.2d 1353, 1354-55 (10th Cir. 1991).

       To determine whether the defendant has rebutted the presumption, the court must consider:

(i) the nature and circumstances of the crime charged; (ii) the weight of the evidence against the

defendant; (iii) the history and characteristics of the defendant, including family ties, employment,

financial resources, community ties, drug or alcohol abuse history, and past conduct; and (iv) the

nature and seriousness of the danger to the community or to an individual that would be posed by

release. See 18 U.S.C. § 3142(g). Should the defendant satisfy his burden of production, the United

States must then show by a preponderance of the evidence that the defendant presents a risk of

flight, or by clear-and-convincing evidence that the defendant presents a danger to the community.

See United States v. Mercedes, 254 F.3d at 436; United States v. Stricklin, 932 F.2d at 1354-55

(“[T]he burden of persuasion regarding risk-of-flight and danger to the community always remains

with the government.”). Notably, however, even if the defendant meets his burden of production,

“the presumption remains a factor for consideration by the district court in determining whether to

release or detain.” United States v. Stricklin, 932 F.2d at 1355 (citation omitted). Accord United

States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001). “The rules concerning the admissibility of


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evidence in criminal trials do not apply to the presentation and consideration of information at the

[detention] hearing.” 18 U.S.C. § 3142(f).

                                            ANALYSIS

       The Court continues to conclude that Perez is a flight risk and will be detain him pending

trial. The statutory presumption is present in this case, because probable cause supports finding that

Perez conspired to possess with intent to distribute five kilograms and more of cocaine. While Perez

has met his burden of production in response to the presumption, pursuant to the 18 U.S.C.

§ 3142(g) factors, the Court finds that, based on the quantity of narcotics involved and the strength

of the United States’ case, and on Perez’ criminal history and ties to Mexico, a preponderance of the

evidence supports finding that Perez is a flight risk. In light of Perez’ circumstances, there are no

conditions, nor a combination of conditions, that will adequately ensure the safety of the community

and the presence of the defendant as required. See 18 U.S.C. § 3142(g). Accordingly, the Court will

order Perez detained pending trial.

I.     THE STATUTORY PRESUMPTION IS PRESENT.

       The Grand Jury has found probable cause to believe that Perez conspired to possess with

intent to distribute five kilograms and more of cocaine, contrary to 21 U.S.C. §§ 841(a)(1), and

(b)(1)(a), in violation of 21 U.S.C. § 846. “[T]he Tenth Circuit has explained that ‘[t]he grand jury

indictment is sufficient to establish the finding of probable cause that defendant committed a federal

drug offense with a maximum prison term of ten years or more.’” United States v. Moreau, No. 07-

cr-0388-JB, 2007 WL 2219412, at *4 (D.N.M. May 7, 2007)(quoting United States v. Silva, 7 F.3d

1046, 1046 (10th Cir. 1993)). See United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010)(“A

grand jury indictment, by itself, establishes probable cause to believe that a defendant committed

the crime with which [s]he is charged.” (citing United States v. Hazime, 762 F.2d 34, 37 (6th Cir.

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1985)). “Thus, when the government presents an indictment including charges listed in section

3142(e)(3), it has fulfilled its burden to establish the presumption in favor of detention.” United

States v. Stone, 608 F.3d at 945. See United States v. Cruz, 23 F.3d 395, at *1 (1st Cir. 1994)(“The

grand jury indictment . . . gave the district court probable cause to believe that appellant had

committed a crime of violence . . . . This, in turn, triggered the rebuttable presumption contained

in § 3142(e).” (citing United States v. Dillon, 938 F.2d 1412, 1416 (1st Cir. 1991)(per curiam)));

United States v. Silva, 7 F.3d at 1046; United States v. v. Quartermaine, 913 F.2d 910, 916 (11th

Cir. 1990)(“A grand jury indictment provides the probable cause required by the statute to trigger

the presumption.” (citing United States v. Hurtado, 779 F.2d 1467, 1479 (11th Cir. 1985))); United

States v. Williams, 903 F.2d 844, at *1 (D.C. Cir. 1990)(“Courts of appeals, however, have

uniformly held that a judicial officer may rely on a grand jury indictment to establish probable cause

for the purposes of triggering the rebuttable presumption of section 3142(e).” (citing United States

v. Vargas, 804 F.2d 157, 163 (1st Cir. 1986); United States v. Suppa, 799 F.2d 115, 118-19 (3d Cir.

1986); United States v. Dominguez, 783 F.2d 702, 706 n.7 (7th Cir. 1986); United States v. Hurtado,

779 F.2d 1467, 1477-79 (11th Cir. 1985); United States v. Contreras, 776 F.2d 51 (2d Cir. 1985);

United States v. Hazime, 762 F.2d 34, 37 (6th Cir. 1985); United States v. Mosuro, 648 F. Supp.

316, 318 (D.D.C. 1986))). Moreover, the United States presented evidence that Perez delivered

cocaine and marijuana to Carrasco. Because probable cause exists to believe Perez violated the

statutory provisions -- which carries a ten-year minimum sentence under 21 U.S.C.

§ 841(b)(1)(A)(viii) -- a presumption arises “that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of the community.”

18 U.S.C. § 3142(e)(3)(stating this presumption applies to Controlled Substances Act violations “for

which a maximum term of imprisonment of ten years or more is prescribed”).

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II.    THE COURT CONCLUDES THAT PEREZ IS A FLIGHT RISK.

       Perez has not convinced the Court to reverse its conclusion that he must be detained pending

trial. The United States stands by its original brief in support of detaining Perez pending trial. The

United States argues that Perez must be detained pending trial, because he is, by a preponderance

of the evidence, a flight-risk, and, by clear-and-convincing evidence, a danger to the community.

The United States contends that it presented strong evidence supporting a conviction under 21

U.S.C. § 841(a)(1), (b)(1)(A), which would subject Perez to a lengthy term of incarceration. As

such, the United States contends, no condition or combination of conditions will adequately deter

Perez’ flight and ensure the community’s safety. The United States further contends that Perez has

been charged in a large-scale cocaine conspiracy and that the temptation to continue engaging in

drug activity makes Perez a danger to the community.

       Perez asserts that he is not a flight risk and that there are conditions that will reasonably

assure his appearance at trial.

       Defendant argues an overemphasis of his criminal history (he is safety valve
       eligible), and that he holds no significant ties to Mexico. Further, Defendant has
       made good faith efforts to comply with the entirety of the fourteen (14) preconditions
       for release enumerated by USPTS, and that the strength of the evidence presented by
       the United States is merely at the standard to bring forth one count against him in a
       seven-count indictment among twenty-three named co-defendants.

Motion at 2-3. Perez contends that he has strong ties to the community, with his mother residing

in El Paso and brother residing in Santa Teresa. He asserts that he has two young children with his

common-law wife, all of whom reside in the United States. Perez notes that PTS has recommended

release with conditions, and asserts that he has made good faith efforts to comply with those

conditions by obtaining employment, seeking drug addiction counseling, and paying his traffic

tickets in El Paso.


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       The Court continues to conclude that Perez meets his burden of production in response to

the statutory presumption favoring detention. See United States v. Stricklin, 932 F.2d at 1355 (“The

defendant's burden of production is not heavy, but some evidence must be produced.”). While Perez

has met his burden of production, the presumption “remains a factor for consideration by the district

court in determining whether to release or detain.” United States v. Stricklin, 932 F.2d at 1355

(citation omitted).   The Court further concludes that the United States has shown, by a

preponderance of the evidence, that Perez presents a risk of flight. The Court is still not ready to

say that the United States has shown, by clear-and-convincing evidence, that Perez is a danger to

the community. While participating in drug sales is harmful to the community, Perez appears to

have played a smaller role than a number of his co-Defendants, and there is some evidence that he

supplied Carrasco with marijuana, and not cocaine. He may have been Carrasco’s personal dealer,

and not part of the broader conspiracy. See United States v. Mercedes, 254 F.3d at 436; United

States v. Stricklin, 932 F.2d at 1354-55 (“[T]he burden of persuasion regarding risk-of-flight and

danger to the community always remains with the government.”). The Court also concludes that

no conditions that Perez proposes or that the Court knows to be available will adequately deter

Perez’ flight. Because the Court “finds that no condition or combination of conditions will

reasonably assure the appearance of [Perez] as required . . . , [the Court] shall order the detention

of the [Perez] before trial.” 18 U.S.C. § 3142(e)(1).

       As the Court noted before, Perez faces charges that carry substantial sentences. The United

States presents weighty evidence of Perez’ guilt. Perez travels frequently to Mexico, where he earns

money gambling. He has not been legitimately employed for at least ten years. While Perez has

presented new considerations that add wrinkles to the Court’s analysis, he has not convinced the

Court that it can impose conditions that would assure his appearance at trial.

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       A.      THE NATURE AND CIRCUMSTANCES OF THE CRIME CHARGED
               DEMONSTRATE PEREZ IS A FLIGHT RISK.

       The crime with which Perez is charged carries substantial penalties. Perez is charged with

conspiring to traffic cocaine, which carries a ten-year statutory minimum term of imprisonment, and

the United States estimates Perez’ Sentencing Guideline range upon conviction at trial will be

approximately 135 to 168 months imprisonment. See 21 U.S.C. § 841(a)(1),(b)(1)(A)(viii). On the

other hand, Perez appears to be safety-valve eligible, and he may be able to reduce his sentence.

Nonetheless, this Court has previously noted that “[t]he rebuttable presumption in drug-trafficking

cases is statutory, and arises out of Congress’ concern that individuals involved in drug trafficking

often have foreign contacts and the ability to leave the country, and incentives to remain active in

the drug trade.” United States v. Disher, 650 F. Supp. 2d 1131, 1136 (D.N.M. 2009)(Browning,

J.)(citing United States v. Moreno, 30 F.3d 127, at *2 (1st Cir. 1994). This concern regarding

drug-trafficking is further illuminated by its inclusion in 18 U.S.C. § 3142(g) as a factor for

consideration in making a determination regarding detention. Perez has been charged in a

large-scale cocaine conspiracy and faces a substantial sentence. Perez presents no new evidence

or matters for consideration to alter the Court’s analysis of the import of the nature and

circumstances of the crime with which Perez is charged. The Court therefore continues to find that

this factor counsels in favor of detaining Perez pending trial.

       B.      THE WEIGHT OF THE UNITED STATES’ EVIDENCE AGAINST PEREZ
               SHOWS HE IS A FLIGHT RISK.

       The weight of the United States’ evidence against Perez favors detaining him before trial.

“[T]he weight of the evidence offered in support of [the charge against Perez] is significant,” giving

him ample reason to flee if he is released pending trial. United States v. Cisneros, 328 F.3d at 618

(recognizing that the United States “need not offer all of its evidence” at the detention stage of the

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criminal proceeding). The indictment against Perez and his co-conspirators is the result of a lengthy

investigation, which included over four months of court-authorized Title III wiretap interception of

six different telephones and video surveillance of three different residences.

       Perez notes that his name appears only once in the nineteen-page Indictment, which he

contends suggests that he had a much smaller role than his co-Defendants. Perez contends that he

was a minimal participant in the alleged conspiracy, and that the Court should consider the United

States’ case against him. Smith testified at the December 8, 2010 hearing that Perez was a minor

participant in the DEA’s investigation. Although Perez may have been a minor participant in the

conspiracy, the United States presents weighty evidence against him. Perez was repeatedly

intercepted in conversations with Carrasco on her wiretapped telephone. On multiple occasions,

Perez and Carrasco arranged for Perez to go to Carrasco’s residence. Using video surveillance,

agents observed multiple occurrences at Carrasco’s residence when Perez would arrive and either

exit his vehicle and walk to the front of the residence, or remain in his vehicle while Carrasco would

walk to the window and reach into the vehicle. These meetings were brief, and Smith testified that

the meetings are consistent with other hand-to-hand drug deals that the agent has witnessed in the

past. Perez admitted to supplying marijuana to Carrasco in a post-Miranda statement at the time of

his arrest. De La Torre, who lives with Carrasco, told investigators that Perez delivered marijuana

and smaller amounts of cocaine to Carrasco. The proffered evidence demonstrates that the United

States’ case against Perez is formidable, making Perez’ conviction and, in turn, his imprisonment

a very real possibility for him. The Court thus finds that this factor weighs in favor of pretrial

detention.




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       C.      PEREZ’ HISTORY AND CHARACTERISTICS EVINCE THAT HE IS A
               FLIGHT RISK.

       Perez’ history and characteristics continue to support finding that he is a flight risk. Some

of his characteristics demonstrate ties to the community. Perez is a United States citizen. He has

two children with his common-law wife, Lopez, and his children are United States citizens, although

Perez did not live with them at the time of his arrest and any support Perez provided to his children

were the proceeds of gambling in Mexico. His mother, Gardea, with whom he lives, resides in El

Paso, and his brother resides in Santa Teresa. Perez contends that he played at most a minimal role

in the matter and that his last conviction was for a misdemeanor in 2007. Perez also argues “that

Defendant has no profound ties to Mexico,” asserting that he traveled there only to gamble. Motion

at 6. He notes that he owns no property in Mexico.

       Perez, however, has not shown himself to be otherwise law abiding. Over the course of the

past eleven years, Perez appears to have been arrested seven times, resulting in five convictions and

one probation violation. The most recent conviction is for “failing to identify,” which indicates

Perez refused to cooperate with a law enforcement officer’s request for identification. Perez has

resolved his outstanding warrant for a traffic violation. Perez asserts that “not one of the charges

to which he has pled pertain to violent offenses,” and that, “[o]f his seven (7) arrests, the general

underlying issue is drug or alcohol related impairment and petty criminal mischief.” Motion at 5.

He further asserts that, “[w]hile he did fail to appear at hearings on these misdemeanors, no

comparison can be made from his conduct then, towards a proclivity to engage in interstate flight

to avoid prosecution on the federal charge now.” Motion at 5. While Perez’ individual offenses

may be minor, and some dated, they demonstrate a pattern and history of Perez’ tendency to ignore

the laws of his community and his inconsistent ability to follow lawful orders, including those


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imposed by a court. While his prior offenses do not involve violent conduct, the Court has not found

Perez to be a danger to the community, and the lack of violence does not convince the Court the he

is less of a flight risk.

         Perez concedes that he frequently travels to Mexico. According to information that the

Border Patrol compiled, Perez has traveled to Mexico thirty-six times between May 23, 2010, and

November 16, 2010. Perez initially told PTS, however, that he had not traveled to Mexico since

2009. Perez was arrested on the present charges upon reentering the United States from Mexico on

November 16, 2010. The Court is troubled by Perez’ failure to be forthcoming to PTS about the

extent of his travel to Mexico. What is more, Perez also has family in Mexico. See United States

v. Cisneros, 328 F.3d 610, 618 (10th Cir. 2003)(noting a defendant’s “close family in

Mexico . . . and that in the past [the defendant] has traveled to Juarez with a sister and other family

members” weighed in favor of detention).

         Perez does not rent or own his own residence, and lives with his mother. What legitimate

income Perez has appears to derive from gambling in Mexico. Perez states that “[h]is source of

income is admittedly unreliable and perceived as unethical, but it is lawful and he is attempting to

transition to a more traditional and stable source of income.” Motion at 5. The Court is not

concerned whether Perez’ gambling is ethical; the Court is concerned that Perez has a demonstrated

ability to obtain income in Mexico, which supports the Court’s conclusion that he would likely flee

there.

         Perez has cleared up his arrest warrant for his traffic violation. He has also apparently

secured employment with Lowe’s if he is released. The Court does not think these developments

are enough to mitigate Perez’ risk of flight if he is released. While there are some new wrinkles

based on the new events, by and large, the Court finds Perez’ circumstances present the same

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concerns that led the Court to conclude no factors could adequately mitigate Perez’ risk of flight

when it denied him conditions of release in its MOO.

       The Court continues to be concerned that Perez would flee and finds that the United States

has shown by a preponderance of the evidence that Perez is a flight risk. His lack of candor and

truthfulness about his crossings troubles the Court. The Court does not see many defendants that

travel to Mexico as frequently as Perez does. If Perez had been forthcoming from the beginning,

about his travel to Mexico, it might have painted a different picture for the Court. The Court does

not doubt that Perez travels to Mexico to gamble, but the Court is concerned with Perez’ comfort

in traveling to Mexico, and his ability to obtain income there, particularly in light of his criminal

history and his failure to comply with the conditions of his probation and court orders.

       Thus, given the proximity to the border and the Court’s belief that Perez is a flight risk, the

Court does not believe at this time that it can construct a set of conditions that would mitigate to

acceptable levels Perez risk of flight. The Court addressed using Perez’ mother as a third party

custodian in its MOO. While she had not yet been approved as a third party custodian, the Court

noted that it was unconvinced of the viability of having her serve as a third party custodian, because

Perez lived with his mother during the alleged events with which he is charge, and she has

apparently not been willing or able to act as a check on him. PTS’ approval of her as a third party

custodian does not adequately weaken the Court’s concern.4

       In sum, by a preponderance of the evidence, Perez is a flight risk given the serious penalties

he faces, his criminal record, the strength of the United States’ case, and Perez’ weak ties to the



       4
         The Court’s order is again without prejudice to Perez proposing conditions of release that
better address the Court’s and the United States’ concerns, and give comfort to probation if the
conditions can be met.

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community and his ties to Mexico. On balance, Perez’ ties to the community appear insufficient to

prevent Perez’ flight. In light of the severity of the sentence he is facing and the strength of the

United States’ evidence, along with his ties to Mexico, Perez has significant reason to abscond and

avoid incarceration. The Court therefore denies his Motion, and affirms Judge Garza’s order

detaining him pending trial.

       D.      THE COURT DOES NOT FIND CLEAR-AND-CONVINCING EVIDENCE
               THAT PEREZ IS A DANGER TO THE COMMUNITY.

       The parties present no new evidence or argument regarding its conclusion that the United

States has not shown, by clear-and-convincing evidence, that Perez is a danger to the community.

While the Court finds evidence that Perez is a danger to the community, the Court is not ready to

say the evidence is clear-and-convincing. Because the United States has presented probable cause

supporting Perez’ federal charges, the statutory presumption that Perez poses a danger to the

community is triggered. Even though Perez has met his burden of production in response to the

presumption, the presumption remains a factor for this Court to consider in making its ultimate

determination regarding detention. See United States v. Stricklin, 932 F.2d at 1355 (“Even if a

defendant's burden of production is met, the presumption remains a factor for consideration by the

district court in determining whether to release or detain.”). Perez is charged with conspiring to

traffic cocaine, which is a serious crime that “threatens to cause grave harm to society.” Harmelin

v. Michigan, 501 U.S. 957, 1002 (1991)(stating that the “possession, use, and distribution of illegal

drugs represent one of the greatest problems affecting the health and welfare” of the United States).

Thus, beyond the presumption, the federal charges provide reason to deem Perez a danger to the

community. See United States v. Pina-Aboite, 97 F. App’x at 836 (recognizing that 18 U.S.C.

§ 3142 “danger-to-the-community factor is not simply about physical violence; the risk that a


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defendant will continue to engage in drug trafficking constitutes a danger to the community” (citing

United States v. Cook, 880 F.2d 1158, 1161 (10th Cir.1989)). Perez appears, however, to have

played a smaller role than a number of his co-Defendants, and there is some evidence that he

supplied Carrasco with marijuana and not with cocaine. At present, the Court is unconvinced that

Perez was more than Carrasco’s personal dealer and part of the broader conspiracy. While the

United States presents weighty evidence that Perez distributed drugs in some fashion, it has not

presented clear-and-convincing evidence that Perez was involved in the large-scale “drug trafficking

[that] constitutes a danger to the community.” United States v. Pina-Aboite, 97 F. App’x at 836

(citation omitted). Consequently, the Court does not find, on the record before it, clear-and-

convincing evidence that Perez presents a danger to the community and relies instead on Perez being

a flight risk in ordering his pretrial detention.

        IT IS ORDERED that the Defendant’s Second Notice of Appeal on the Order of Detention

filed March 18, 2011 (Doc. 332), is granted in part and denied in part. The Court grants Defendant

Jaime Perez’ request for a hearing, and it affirms the order of the Honorable Carmen E. Garza,

United States Magistrate Judge, denying Perez conditions of release.



                                                              ________________________________
                                                              UNITED STATES DISTRICT JUDGE



Counsel:

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